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UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEVADA
) Case #3:19-CV-0693-MMD-CLB
Rachael Jasper, Victoria Rachet, Maryann _)
Brooks & Lily Stagner )
) VERIFIED PETITION FOR
Plaintiff(s), ) PERMISSION TO PRACTICE
) IN THIS CASE ONLY BY
Vs. ) ATTORNEY NOT ADMITTED
TO THE BAR OF THIS COURT
‘ AND DESIGNATION OF
Cito Reno ) LOCAL COUNSEL
)
Defendant(s). )
) FILING FEE IS $250.00
Eric M. Epstein , Petitioner, respectfully represents to the Court:

 

(name of petitioner)

l, That Petitioner is an attorney at law and a member of the law firm of

Eric M. Epstein, APC
(firm name)

1901 Avenue of the Stars, #1100
(street address)

with offices at

 

 

 

Los Angeles : California , 90067
(city) (state) (zip code)
(310)-552-5366 : emepstein@aol.com
(area code + telephone number) (Email address)
De That Petitioner has been retained personally or as a member of the law firm by
Jasper, Rachet, Brooks & Stagner to provide legal representation in connection with
[client(s)]

the above-entitled case now pending before this Court.

Rev. 5/16

 
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3. That since June 27, 1975 , Petitioner has been and presently is a
(date) ; ;
member in good standing of the bar of the highest Court of the State of California
(state)

where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or
from the clerk of the supreme court or highest admitting court of each state, territory, or insular
possession of the United States in which the applicant has been admitted to practice law certifying

the applicant's membership therein is in good standing.

4, That Petitioner was admitted to practice before the following United States District
Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
of other States on the dates indicated for each, and that Petitioner is presently a member in good

standing of the bars of said Courts.

 

 

 

 

 

 

 

 

Court Date Admitted Bar Number

California June 27, 1975 64055

New York September 14, 1972 3265741

U.S. District Court Southern District of New York January 28, 1975 3265741

U.S. District Court Eastern District of New York — January 28, 1975 3265741
U.S. District Court Central District of California June 27, 1975 64055
United States Court of Appeals Ninth District February 10, 2009 64055

a, That there are or have been no disciplinary proceedings instituted against petitioner,

nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
or administrative body, or any resignation or termination in order to avoid disciplinary or

disbarment proceedings, except as described in detail below:

None

 

 

2 Rev. 3/16

 
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6. That Petitioner has never been denied admission to the State Bar of Nevada. (Give

particulars if ever denied admission):

 

None

 

 

7. That Petitioner is a member of good standing in the following Bar Associations.

California State Bar
ew York State Bar

 

 

 

8. Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2

(formerly LR [A 10-2) during the past three (3) years in the following matters: (State "nonc" if'no applications.)

 

Date of Application Cause Title of Court Was Application
Administrative Body Granted or
or Arbitrator Denied
February 2, 2017 4-16-743972-C District Court, Clark County Granted

 

 

 

 

 

(If necessary, please attach a statement of additional applications)
9, Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
extent as a member of the State Bar of Nevada.
10. _ Petitioner agrees to comply with the standards of professional conduct required of

the members of the bar of this court.

11. Petitioner has disclosed in writing to the client that the applicant is not admitted to

practice in this jurisdiction and that the client has consented to such representation.

3 Rev. 5/16

 
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Case 3:19-cv-00693-MMD-CLB Document 20 Filed 02/26/20 Page 4 of 8

That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

LEE

Petitiofier’s signature

FOR THE PURPOSES OF THIS CASE ONLY.

STATE OF California )
)
COUNTY OF Los Angeles )

Eric M. Epstein , Petitioner, being first duly sworn, deposes and says:

That the foregoing statements are true. a
Zo “GA. ZF -

‘Petitioner’s signature

 

Subscribed and sworn to before me this

FU day of Tan UZ ,_ oOo 0, GALE SANDERS

GC ) / Notary rei : a
Ul Wr d ah iecmuiesten ° 2151444
otary Public or Clerk of Court Comm. E 2

DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO
THE BAR OF THIS COURT AND CONSENT THERETO.

 

Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
believes it to be in the best interests of the client(s) to designate Mark R. Thierman
(name of local counsel)
Attorney at Law, member of the State of Nevada and previously admitted to practice before the
above-entitled Court as associate resident counsel in this action. The address and email address of

said designated Nevada counsel is:

 

 

 

7287 Lakeside Dr, .
(street address)
Reno . Nevada . 89511 .
(city) (state) (zip code)
775-287-1500 : mark@thiermanbuck.com
(area code + telephone number) (Email address)

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Case 3:19-cv-00693-MMD-CLB Document 20 Filed 02/26/20 Page 5 of 8

By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.

APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

Mark R. Thierman as

(name of local counsel)
his/her/their Designated Resident Nevada Counsel in this case.

4
(party's signature)

Mecheel Jccsper _ Nawerel Plas

(type or print party name, title)

The undersigned party(ies) appoint(s)

 

 

 

 

(party's signature)

 

(type or print party name, title)

CONSENT OF DESIGNEE
The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

Pt.

Desrgnated Resident Nevada Counsel’s signature

 

8285 mark@thiermanbuck.com
Bar number Email address

 

APPROVED:
Dated: this day of , 20

UNITED STA’ DISTRICT JUDGE

5 Rev. 5/16

 
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By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.

APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

The undersigned party(ies) appoint(s) Mark R. Theirman as
(name of local counsel)

his/her/their Designated Resident Nevada Counsel in this case.

bag

(pacty’s signature)

Victoria Rachet Named Plantiff
(type or print party name, title)

 

(party's signature)

\ictronc, Rene +

(type or print party name, title)

CONSENT OF DESIGNEE
The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

Designatéd Residént Nevada Counsel's signature

 

 

8285 mark@thiermanbuck.com
Bar number Email address
APPROVED:
Dated: this day of 200

 

 

UNITED STATES DISTRICT JUDGE

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Case 3:19-cv-00693-MMD-CLB Document 20 Filed 02/26/20 Page 7 of 8

By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.

APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

Mark R. Thierman as

. (name of local counsel)
his/her/their Designated Resident Nevada Counsel in this case.

Bret,

(party'#signature)

The undersigned party(ies) appoint(s)

 

Maryann Brooks

(type or print party name, title)

 

(party's signature)

Meaun/ BScrooks

(type orprint party name, title)

CONSENT OF DESIGNEE
The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

 

 

FP ca
Designated Res{dent-Névada Counsel’s signature
8285 _mark@thiermanbuck.com
Bar number Email address

APPROVED:
Dated: this day of , 20

 

 

UNITED STATES DISTRICT JUDGE

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Case 3:19-cv-00693-MMD-CLB Document 20 Filed 02/26/20 Page 8 of 8

By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.
APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

The undersigned party(ies) appoint(s) Mark R. Thierman as
(name of local counsel)

his/her/their Designated Resident Nevada Counsel in this case.

oxhe Wavt
party's ye () (

Lily Stagner Named Plantiff
(type or Print party name, title)

 

 

(party's signature)

Lid Staanev

(type or print party name, title)

CONSENT OF DESIGNEE
The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

Designated Kesident Nevada Counsel's signature

8285 mark@theirmanbuck.com
Bar number Email address

APPROVED:
Dated: this day of , 20

UNITED STATES DISTRICT JUDGE

5 Rev. 5/16

 

 
